           IN THE UNITED STATES DISTRICT COURT FOR THE
                   WESTERN DISTRICT OF MISSOURI
                         WESTERN DIVISION

UNITED STATES OF AMERICA,           )
                                    )
                Plaintiff,          )
                                    ) Criminal Action No.
          v.                        ) 11-00302-03-CR-W-DW
                                    )
LORRIE R. DOLAN,                    )
                                    )
                Defendant.          )

                     REPORT AND RECOMMENDATION

     On September 4, 2012, defendant moved for a judicial

determination of mental competency.     Defendant was examined at the

Medical Center for Federal Prisoners in Ft. Worth, Texas, by Christine

Anthony, Psy.D., a forensic psychologist.        Dr. Anthony found

defendant not competent at the present time, but found that there is

a substantial probability that she could attain competency in the

foreseeable future if she is committed for treatment.

     I held a competency hearing on November 30, 2012 (the transcript

has been filed as document number 145).       Defendant was present,

represented Kenton Hall.     The government was represented by

Assistant United States Attorney Jalilah Otto.         The parties

stipulated to the report of Dr. Anthony.

     Based on the evidence before me, I find that the defendant is

not competent proceed and assist in her defense.         Therefore, it is

     RECOMMENDED that the court, after making an independent review

of the record and applicable law, enter an order finding defendant

incompetent to be sentenced and to assist in her defense.             It is




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further

     RECOMMENDED that the court commit defendant to the custody of

the Attorney General for hospitalization and treatment pursuant to

18 U.S.C. § 4241(d).




                                            /s/ Robert E. Larsen
                                       ROBERT E. LARSEN
                                       United States Magistrate Judge

Kansas City, Missouri
December 6, 2012




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